Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 1 of 6 PageID #: 1



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION


LENDON THOMAS,                                    )
                                                  )
                             Plaintiff,           )
                                                  ) CASE NO.: 1:19-cv-2648
         v.                                       )
                                                  )
MARY L. SANDERSON and WILEY                       )
SANDERS TRUCK LINES, INC.,                        )
                                                  )
                             Defendants.          )
                                                  )


                                           NOTICE OF REMOVAL

         TO THE HONORABLE JUDGES AND CLERK OF THE UNITED STATES
         DISTRICT COURT FOR THE NORTHERN DISTRICT OF INDIANA.

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1332, 1441, and 1446,

Defendant, WILEY SANDERS TRUCK LINES, INC., by counsel, hereby files this Notice of

Removal to remove the above-entitled action to this Court based upon the following supporting

grounds. Defendant, appearing solely for the purpose of this removal, and for no other purpose,

and preserving all other defenses available to them, state as follows:

                                                VENUE

         1.        On or about April 22, 2019 the above-entitled action was commenced against

Defendant in the Bartholomew Circuit Court of the State of Indiana, Cause No: 03C01-1904-CT-

002268, and is now pending therein.

         2.        Removal to the Southern District of Indiana, Indianapolis Division, is appropriate

pursuant to 28 U.S.C. § 1441(a), because the Southern District of Indiana, Indianapolis Division,




{0020323/0001/01960574 v1}
Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 2 of 6 PageID #: 2



embraces the County of Bartholomew, where the action was pending prior to the filing of this

Notice of Removal.

                                      REMOVAL IS TIMELY

          3.       Upon information and belief, Defendant Mary L. Sanderson has not been served

with a Summons and Complaint for Damages in the above-entitled action.

          4.       On or about May 16, 2019, Defendant WILEY SANDERS TRUCK LINES, INC.

was served directly by certified mail with a Summons and Complaint for Damages in the above-

entitled action.

          5.       The case stated by the initial pleading was not removable solely because the

amount in controversy was not clearly identified as exceeding the amount specified in section 28

U.S.C. §§ 1332(a).

          6.       On June 26, 2019, Plaintiff’s counsel confirmed his client’s claim is worth in

excess of $75,000. Thus, the amount in controversy exceeds the amount specified in section 28

U.S.C. §§ 1332(a).

          7.       Therefore, pursuant to 28 U.S.C. §§ 1446 (b)(3) and (c)(3) (A), this removal is

timely.

                                 STATE COURT PROCEEDINGS

          8.       On April 22, 2019, Plaintiff Lendon Thomas (hereinafter “Plaintiff”) filed his

Complaint in the above-entitled action against Defendants in the Bartholomew County Circuit

Court in the State of Indiana, Cause No. 03C01-1904-CT-002268, and is now pending therein.

          9.       On May 23, 2019, Defendant filed an attorney appearance, Jury Demand and

Motion for Enlargement of Time to File Responsive Pleading in the Bartholomew County

Circuit Court in the above-entitled action.




{0020323/0001/01960574 v1}
Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 3 of 6 PageID #: 3



         10.       On May 24, 2019, the Bartholomew County Superior Court issued an Order

Granting Defendant’s Motion for Enlargement of Time to File Responsive Pleading, granting

them a period of time through and including July 8, 2019 in which to answer or otherwise

respond to Plaintiff’s Complaint.

         11.       Pursuant to S.D. Ind. L.R. 8-1(d), Defendant asserts that there are no state court

motions that remain pending at the time of this Notice of Removal.



                               DIVERSITY JURISDICTION EXISTS

         12.       This is a civil action that falls within the Court’s original jurisdiction under 28

U.S.C. § 1332 and is one that may be removed to this Court based on diversity of citizenship

under 28 U.S.C. §§ 1441 and 1446.

         13.       Plaintiff Lendon Thomas is a citizen of the State of Kentucky

         14.       Defendant Mary L. Sanderson is a citizen of the State of Alabama.

         15.       WILEY SANDERS TRUCK LINES, INC. is a Foreign for-profit corporation

formed in Alabama with its principal place of business in Troy, Alabama.

         16.       Because WILEY SANDERS TRUCK LINES, INC. is not incorporated in Indiana

or have its principal place of business in Indiana, it is not a citizen of the State of Indiana for

purposes of diversity jurisdiction.

         17.       There is complete diversity of citizenship between the parties named in this case.

         18.       Plaintiff’s Complaint for Damages does not demand a specific sum of monetary

damages. The State of Indiana does not permit a demand for a specific sum or permit recovery of

damages in excess of the amount demanded. Therefore, this Notice of Removal states that the




{0020323/0001/01960574 v1}
Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 4 of 6 PageID #: 4



monetary value of the amount in controversy exceeds $75,000, exclusive of interest and costs,

based upon the following:

               a. Plaintiff contends he sustained injuries as an alleged result of the accident forming

                   the basis of their Complaint.

               b. Plaintiff alleges said injuries are severe and permanent.

               c. Plaintiff’s counsel has communicated his belief that the potential recovery of this

                   matter is in excess of $75,000 exclusive of interest and costs.

         19.       Based upon the injuries alleged and damages claimed by Plaintiff, he seeks

recovery in excess of $75,000 exclusive of interest and costs, the value to Plaintiff of the relief

sought in the Complaint exceeds $75,000 exclusive of interest and costs, and/or the amount in

controversy exceeds $75,000 exclusive of interest and costs.

         20.       Therefore, this state court action is properly removed to this Court in accordance

with 28 U.S.C. §§ 1441 and 1446 because: (1) this action is a civil action pending within the

jurisdiction of the United States District Court for the Southern District of Indiana, Indianapolis

Division; (2) this action is between citizens of different States; (3) the amount in controversy

exceeds $75,000, exclusive of interest and costs.



                                  STATUTORY REQUIREMENTS

         21.       Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81-2, , a copy of the entire state

court file is attached as an Exhibit and includes the State Court Record as of the date of this

Notice of Removal, including the following: Complaint, Appearance, Subpoena/Summons,

Appearance, Motion for Enlargement of Time, Jury Demand, Order on MET and Amended

Appearances (2).




{0020323/0001/01960574 v1}
Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 5 of 6 PageID #: 5



         22.       Pursuant to S.D. Ind. L.R. 81-2(c), a copy of the operative Complaint is also

attached hereto as a separate Exhibit to this Notice of Removal.

         23.       A copy of this Notice of Removal has been filed in the Bartholomew County

Superior Court and Plaintiff has been served with both this Notice of Removal and the Notice of

Filing Notice of Removal.

         WHEREFORE, Defendant, WILEY SANDERS TRUCK LINES, INC., by counsel,

respectfully request that the above-entitled action be removed from the Bartholomew County

Circuit Court to the United States District Court for the Southern District of Indiana, Indianapolis

Division.

                                               LEWIS WAGNER, LLP



                                        By:    /s/Robert R. Foos, Jr.
                                               ROBERT R. FOOS, JR., #20885-45
                                               Counsel for Defendant Wiley Sanders Truck
                                               Lines, Inc.




{0020323/0001/01960574 v1}
Case 1:19-cv-02648-JPH-DML Document 1 Filed 06/28/19 Page 6 of 6 PageID #: 6



                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 27, 2019, a copy of the foregoing Notice of Removal was
filed electronically. Service of this filing will be made on all ECF-registered counsel by
operation of the court's electronic filing system. Parties may access this filing through the court's
system.

Scott A. Weathers
Caroline Clay
ISAACS & ISAACS, P.S.C.
1601 Business Center Court
Louisville, KY 40299
scott.weathers@isaacsandisaacs.com
Counsel for Plaintiff

                                              By: /s/ Robert R. Foos, Jr.
                                                 ROBERT R. FOOS, JR.

LEWIS WAGNER, LLP
Suite 200
501 Indiana Avenue
Indianapolis, IN 46202
Telephone:     317-237-0500
Facsimile:     317-630-2790
rfoos@lewiswagner.com




{0020323/0001/01960574 v1}
